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                             UNITED STATES DISTRICT COURT
                                     AT LOUISVILLE
                           CRIMINAL ACTION NO. 3:21-CR-12-BJB-3


 UNITED STATES OF AMERICA                                                             PLAINTIFF

 V.                                                                   Electronically Filed

 NATHANIEL DURHAM, et al.                                                           DEFENDANT


                                               *****

        DEFENDANT NATHANIEL DURHAM’S MOTION FOR PAYMENT OF COSTS
                            AND WITNESS FEES


      Comes the Defendant, NATHANIEL DURHAM, by his appointed counsel, and pursuant to

 Rule 17(b) of Criminal Procedure requests this Court to enter an appropriate Oder that will pay the

 process costs and witness fee for service of the subpoena for the production of documents and data

 from the Louisville/Jefferson County Metro Emergency Management Agency. As grounds, the

 Defendant states as follows:

      Previously the undersigned was appointed to represent the Defendant as counsel from the

 Court’s Criminal Justice Act attorney panel [DN 33].

      On August 29, 2022, the Court granted Mr. Durham’s unopposed motion for the issuance of

 said subpoena [DN 110].

      Rule 17(b) of Criminal Procedure provides that subpoenas issued on behalf of indigent

 defendants shall have the costs incurred by the process and the fees of the witness so subpoenaed

 “paid in the same manner in which similar costs/fees are paid in the case of a witness subpoenaed

 on behalf of the government.”
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    The Defendant requests that the Office of the United States Marshal be ordered to serve the

 tendered subpoena and tender to any witness the fees and mileage expense normally required.




                                       Respectfully submitted,

                                       /s/LARRY D. SIMON
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                                 CERTIFICATE OF SERVICE

         It is hereby certified that this pleading was electronically filed through the ECF system,

 which will send electronic notice of filing to counsel of record, on this the 29th day of August,

 2022.



                                                             s/LARRY D. SIMON
                                                             LARRY D. SIMON
